Case 3:18-md-02843-VC Document 202-4 Filed 11/21/18 Page 1 of 9




                    Exhibit C
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                               Case 3:18-md-02843-VC Document 202-4 Filed 11/21/18 Page 2 of 9



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                            Attorneys for Defendant Facebook, Inc.                                          ll Ii li I i |||_l|||||l||| |||l|
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                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  14
                                                               COUNTY OF SAN MATEO
                  15                                                   ‘
                            LEAH BALLEJ OS, AUDREY ELLIS, and              CASE NO. 18—CIV-O3 607
                   16       TAIVIEIKA MARTIN,
                                                                           REPLY IN SUPPORT OF DEFENDANT’S
                   17                            Plaintiffs,               MOTION TO STAY PROCEEDINGS
                                                                           PENDING MULTIDISTRICT LITIGATION
                   18              V.

                   19       FACEBOOK, INC, a Delaware corporation,
                            and DOES 1 through 100,                        Department:                      Not-assigned          Mw AND
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                                                                                                                                                          -



                  20
                   .                             Defendants.               Honorable Judge: Not assigned
                  21
                                                                           Complaint Filed: July 11, 2018
                  22
                                                                           Hearing Date:                    September 11, 2018
                  23
                                                                           Hearing Time:                    9:00 am.
                  24
                                                                           Trial Date:                      None set
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        cmmher LLP
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                        Case 3:18-md-02843-VC Document 202-4 Filed 11/21/18 Page 3 of 9




                                                                  INTRODUCTION
                            Plaintiffs’ Opposition brief (“Opp”) conﬁrms that this           case should be stayed. The       injunctive

                   relief Plaintiffs seek under the UCL is already being pursued in the federal multi-district litigation
                   pending before Judge Chhabria in the Northern District of California. As the California Supreme

                   Court has held, a “strong policy   of comity” favors        a stay   in this situation. (Thomson   v.   Continental

                   Ins. Co. (1967) 66 Cal.2d 738, 747.)
            \IO\




                            Plaintiffs provide no meaningful distinction between their claims and those pending in the
             00    parallel MDL. Instead, they argue that a stay should be denied here because the federal MDL

                   plaintiffs may lack Article 111 standing to pursue their claims. (Opp. at pp. 6, 11.) This argument

           10      fails. The very same absence    of injury that portends problems for the federal IVIDL plaintiffs poses
           11      identical problems for Plaintiffs in this case,    as the   injury requirement for a private plaintiff asserting

           12      a UCL    claim under California law is at least    as   stringent,   if not more so, than the Article 111 injury
           13      requirement. As Judge Chhabria observed during a pretrial hearing in the IVIDL on August 23, 2018:

           14               [I]t’s not obvious to me how Facebook violated the law. And if Facebook violated the
                            law, it’s not obvious to me how people were ‘injured’ by it, in the Article III, Federal
           15
                            Court sense of the word.
           16
                   (Ex. A   [Aug 23, 2018 Hearing Tr.]     at p. 5:8—11.)1 Judge Chhabria has already started to consider
           17
                   this issue, has ordered limited discovery from Facebook to inform this issue, and has set a date for               a

           18
                   hearing (January 23, 2019) to resolve this issue. Under these circumstances—where there is a
           19
                   pending federal MDL based in California addressing identical claims, seeking identical relief, and
          20
                   posing identical problems for the plaintiffs—the proper course of action is to stay the state-court case.
           21
                                                                   ARGUMENT
           22
                   A.       Plaintiffs Provide No Meaningful Distinction Between This Action And The Federal
           23
                            MDL.
           24
                            A stay is appropriate where,   as here,   the ﬁrst—ﬁled action covers the same subject matter as
           25
                   the later-ﬁled action. (Thomson, supra, 66 Cal.2d at pp. 746-47.) There is no question that this
           26
                   Action covers the same subject matter     as   the federal MDL. As outlined in Facebook’s motion, both
           27

           28       1    “EX.” refers to the exhibits attached to the Declaration of Joshua Lipshutz filed concurrently.

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                 cases center around Cambridge          Analytica’s alleged receipt of Facebook user data from app developer

                 Aleksandr Kogan and Cambridge Analytica’s alleged misuse of that data. (See Mot. at 3-4.)2 All of

                 Plaintiffs’ causes of action here are also asserted in the MDL, including their claim for broad

                 injunctive relief under the UCL. (Mot. at 4-5.)

                          Plaintiffs contend that their allegations differ from the MDL action because they “allege[]

                 developments that post-date the March 17, 2018 news reports” that broke the Cambridge Analytica

                 story. (Opp. at p. 10 [citing Compl.          1H]   5, 37, 38, 58].)   All three of the “developments” that Plaintiffs
                 cite relate to news reports about data—sharing arrangements that Facebook had with device

                 manufacturers. (Id. )3 But the MDL covers that topic. For example, in the MDL Plaintiffs’ Joint

           1o    Case Management Statement, the              MDL Plaintiffs alleged that, “[i]n      June 2018,   it was revealed that
           11    Facebook also had current, ongoing ‘data sharing partnerships’ with as many as sixty device makers,

           12    such as cell phone manufacturers, including Apple, Amazon, Microsoft, Samsung, Lenovo, and

           13    known national security risk Huawei Technologies Co.” (Ex. B [MDL Plaintiffs’ Case Management

           14    Statement] at p. 5.) The MDL Plaintiffs repeated this allegation in connection with their motion for

           15    discovery, arguing that “F acebook has ‘data—sharing partnerships’ with at least 60 makers of

           16    electronic devices, including Apple, Amazon, BlackBerry, Microsoft, and Samsung that allowed

           17    access   to data of users’ friends and non-Facebook users.” (Ex. C [Plaintiffs’ Motion for Discovery]
           18    at p. 3.) And when asked by Judge Chhabria during an August 23, 2018 hearing to articulate their

           19    theory of injury, the MDL Plaintiffs’ counsel offered the device—sharing partnerships as an example:

           20    “Facebook has reached data—sharing partnerships with at least 60 device makers.” (Ex. A [August

           21    23, 2018   Hr’g Tr] at p.   914—6.)

           22             Plaintiffs’ allegations overlap with the MDL in other ways, too. Plaintiffs here assert that

           23    “Facebook has failed to uphold its obligations arising from a 2012 consent decree with the Federal

           24    Trade Commission.” (Compl.            1]   62.) But the complaints that were consolidated into the MDL also

           25

           26     2    “Mot.” refers to Facebook’s Motion to            Stay filed on July 27, 2018.

           27     3
                       The principal article publicizing these allegations was Gabrial JX Dane et a1., Facebook Gave
                       Device Makers Deep Access to Data on Users and Friends, NY. Times (June 3, 2018),
           28          https://www.nytimes.com/interactive/2018/06/03/technology/facebook—device—partners—users—
                       friends-data.html.
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                      Case 3:18-md-02843-VC Document 202-4 Filed 11/21/18 Page 5 of 9




                 refer to the FTC’s investigation and consent decree (See,              e. g.,   Mot. Ex. F [O ’Kelley Compl]        1]   34).

                 Plaintiffs rely on allegations by former Facebook employee Sandy Parakilas regarding F acebook’s

                 ability to monitor “what app developers were doing with the [user] data.” (Compl. W 60-61.) The

                 IVIDL complaints do the same. (Mot. EX. C [Price Compl] W 17-18; id. Ex. D [Beiner Compl]                                 1}   54;

                 Mot. Ex. F [O ’Kelley Compl]          1]   15).   At bottom, there is no distinction       at all—let alone a meaningful

                 one—between this case and the federal MDL cases. And the very purpose                         of the MDL is to
                 consolidate and coordinate all such actions, so they can be litigated at once in an efﬁcient and

                 effective manner. (28 U.S.C.      §        1407(a) [authorizing transfer and consolidation where doing so                “will
                 promote the just and efﬁcient conduct of such actions”].) Thus, proceeding with this action while the

           10    MDL is pending would frustrate the purpose of the lVIDL                and waste judicial and party resources.

           11    B.       All Relevant Factors Favor Staying This Proceeding Pending the Federal MDL
           12             All relevant factors support a stay of this action “pending resolution of a related case in a
           13    federal court.” (MANUAL FOR COMPLEX LITIG., FOURTH,                    §   20.14.) Speciﬁcally, (1) the parallel

           14    federal litigation is pending in California; (2‘) a stay          will minimize the risk of “unseemly conﬂicts”
           15    between the two actions; (3) the federal court can adequately determine the rights                      of the parties;   and

           16    (4) a stay    will promote judicial economy. (Caiafa Prof Law Corp.                  v.   State Farm Fire & Cas. Co.

           17    (1993) 15 Cal.App.4th 800, 806—807; Berg v. MTC Elecs. Techs. Co. (1998) 61 Cal.App.4th 349,

           18    353, 362-63; Thomson, supra, 66 Cal.2d at pp. 746—747; see also Mot. at 5). Plaintiffs’ arguments

           19    conﬁrm that     a stay is appropriate.

           20             1.       The Parallel Federal MDL in California is a Crucial Factor Favoring a Stay

           21             Plaintiffs concede that “Facebook has presented the correct policy” regarding California—

           22    based actions (Opp. at p. 5)—i.e., that the pendency              of the parallel federal 1V.[DL in California is a
           23    “crucial factor” favoring    a stay    in light of California’s “strong policy of comity.” (Thomson, supra,

           24    66 Cal.2d at p. 747; see also Caiafa, supra, 15 Cal.App.4th at p. 807 [staying case pending Southern

           25    District of Califomia action].) Plaintiffs’ response is to argue that “[o]nly                 a   California state court can

           26    adequately effectuate the intent           of the California legislature.”      (Opp. at pp. 1, 11). But that is the

           27    opposite   of comity.   Just as state courts are competent to apply federal law, federal courts are

           28    competent to apply state law, including the California UCL statute. And even                        if a federal court
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                    encounters a novel issue     of California law, it can certify   a question to the   California Supreme Court.

                    (See LA. Uniﬁed Sch. Dist. v. Garcia (9th Cir. 2012) 669 F.3d 956, 963.)4

                             Plaintiffs next argue that this case should proceed because the MDL plaintiffs have Article III

                    standing problems that     will “ pose a realistic threat to achieving injunctive relief.”      (Opp. at p. 11.)

                    But the difﬁculties the MDL plaintiffs will face in proving that they suffered           a concrete    injury for

                    Article III purposes are the same difﬁculties that Plaintiffs here will face in showing,          as   the UCL

                    requires, that they suffered “a loss or deprivation    of money or property sufﬁcient to qualify          as   injury

                    in fact, i.e., economic injury.” (Cal. Bus. & Prof. Code         §   17204 [“Actions   for relief pursuant to this
                    chapter shall be prosecuted exclusively in a court     of competent jurisdiction           by a person who has

           10       suffered injury in fact and has lost money or property       as a    result of the unfair competition.”], see also

           11       Kwikset Corp.    v.   Superior Court (2011)   51 Cal.4th 310, 322.)       As the California Supreme Court held

           12       in Kwikset, the phrase “injury in fact” was “intended to incorporate the established federal meaning”

           13       under Article III jurisprudence. (Id. at p. 322.) Indeed,        it was “the intent of the California voters in
           14       enacting [Proposition 64] to prohibit private attorneys from ﬁling lawsuits for unfair competition

           15       where they have no client who has been injured in fact under the standing requirements                 of the United
           16       States Constitution.” (Ibid., quoting Prop. 64, § 1, subd. (e).)         If anything, the UCL standing
           17       requirements are even more stringent than Article       III because they require economic inj uries—a loss
           18       of money or property—and can never be satisﬁed by intangible injuries. (Kwikset, supra,                  51   Cal.4th

           19       at p. 324; see also Van Patten v. Vertical Fitness G711,     LLC (9th Cir. 2017) 847 F.3d 1037, 1043,
          20        1047-48 [plaintiff with Article HI standing lacked UCL standing because he had not alleged a loss                   of
          21        money or property].) Accordingly, the standing issue here is not meaningfully different from the

          22        Article III standing issue the IVIDL court must decide.

          23                 Plaintiffs’ suggestion that only the state court can address their request for injunctive relief

          24        (Opp. at p. 1), fails as well.   Of course, federal courts   are     fully capable of resolving claims for
          25        inj unctive relief; there is no support whatsoever for Plaintiffs’ assertion that only a state court can do

          26

           27        4
                          Plaintiffs’ assert that allowing federal courts to adjudicate UCL claims would “gut[]” the
                          effectiveness of the UCL (See Opp. at p. 5 [citing Davidson v. Kimberly-Clark Corp. (9th Cir.
           28             2017) 873 F.3d 1103]), but the Davidson decision was superseded to exclude the quoted
                          language. (Davidson v. Kimberly-Clark Corp. (9th Cir. 2018) 889 F.3d 956].)
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                    justice to their UCL claims. (See,          e. g.,   Haas Automation, Inc.   v.   Denny (CD. Cal. July   1,   2014) 2014

                    WL 2966989, at *7 [“[T]he Court grants Plaintiff an injunction based on Defendants’ violation of the
                    California UCL.”].) Plaintiffs call into question the motives and capabilities of co-lead counsel for

                    the IVIDL Plaintiffs, Derek Loeser, based on another case he handled before Judge Chhabria that

                    resulted in substantial monetary damages. (Opp. at 7-8.) But Plaintiffs’ aspersions are highly

                    improper and, in any event, irrelevant to this case. Plaintiffs have no reason to doubt that co-lead

                    counsel for the NIDL Plaintiffs          will zealously represent their clients’ quest for inj unctive relief
                    against Facebook. (See Ex. A [Aug 23, 2018 Hr’ g Tr.] at p. 19:20-25 [IVIDL Co—Lead Counsel

                    Lesley Weaver discussing alleged “irreparable harm”].)

           10                2.      This Action Presents the Risk of Conflicting Rulings and Duplicative Litigation
           11                Plaintiffs do not dispute that,       if this action were to proceed, this Court would be required to
           12       rule on issues that are identical to those in the federal lVIDL. (See Opp. at pp. 11—12.) They attempt

           13       to gloss over this issue by suggesting that this Court could “coordinate or interact with [its] federal

           14       counterpart[] to minimize problems,” stating that Plaintiffs “remain committed to coordinating these

           15       cases to avoid unnecessary burdens           from arising.” (Id. at p. 12.) But the most efﬁcient way to

           16       accomplish these ends is to stay this case pending the federal MDL. This is exactly what the Superior

           17       Court did in Van Zant      v.   Apple:    It stayed the state-court   action pending a Califomia—based federal

           18       MDL because the      cases shared “substantial           similarities in allegations and issues,” thus creating “a

           19       real potential for conﬂicts with the        MDL action,” which “weigh[ed] strongly in favor of staying the
           20       [state court] matter.” (Mot. Ex. G [Apple Order] at p. 3.) Plaintiffs provide no reason this Court

           21       should not follow the same course and stay proceedings pending the Califomia—based federal l\/IDL.5

           22                3.      The MDL Will Resolve the Rights of the Parties to This Action

           23                As Facebook explained in its opening brief (Mot. at p. 9), the federal MDL will resolve the

           24       rights of the Plaintiffs here: Plaintiffs fall within the class definition in most of the MDL complaints,

           25

           26
                      5
                          Plaintiffs quote the Ninth Circuit’s decision in Briggs v. Merck Sharp & Dohme (9th Cir. 2015)
           27             796 F.3d 1038, 1045, “that effective coordination effectively moots concerns over unseemly
                          conﬂicts or inconsistent rulings.” (Opp. p. 12.) But that quote comes from the portion of the
           28             opinion quoting the district court ’s ruling, which the Ninth Circuit proceeded to reverse. (Briggs,
                          796 F.3d at 1052.)
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                 many of which also seek the sam‘e‘e'xact inj unctive relief that Plaintiffs seek here. Plaintiffs do not

                 address any          of the California case law holding that two    cases need   not be identical to warrant   a stay,

                 as   long as the parties are “substantially identical” and the actions “affect[] the same subject matter.”

                 (Caiafa, supra, 15 Ca1.App.4th at 803; see also Thomson, supra, 66 Cal.2d at p. 746 fn. 5; Berg,

                 supra, 61 Cal.App.4th at 363; Mot. Ex. G [Apple Order] at p. 3.) Instead, they assert that class

                 certiﬁcation issues will derail efforts to obtain injunctive relief because “class certiﬁcation problems

                 are even more pronounced when injunctive             relief is sought in federal courts.” (Opp. at p. 6-7.) But
                 their authorities do not support this claim. In Pecover v. Elec. Arts Inc. (N.D. Cal. Dec. 21, 2010)

                 2010 WL 8742757, at *15), the plaintiffs’ claims for injunctive relief failed due to “their lack               of
           10    attention to the issue,” not the law of class certiﬁcation. And Plaintiffs’ quotation             of Davis v. Astrue
           11    (ND. Cal. 2012) 874 F.             Supp. 2d 856, 868 omits the key language that “injunctive       relief generally
           12    should be limited to apply only to named plaintiffs where there is no class certiﬁcation.” (emphasis

           13    added).

           14                4.   .
                                        A Stay Will Promote Judicial Economy
           15                Finally, a stay of this action will further the efﬁciency of the federal MDL, which is moving at

           16    a   swift pace. Indeed, in the last several weeks, Judge Chhabria has appointed lead counsel (Ex. E),
           17    heard argument on discovery issues (Ex. A), ordered the              ﬁling of a consolidated MDL complaint (Ex.
           18    F), and ordered limited discovery in connection with that consolidated complaint (Ex. G). The

           19    consolidated amended complaint is due on September 21, 2018, and Facebook’s motion to dismiss

          20     will   be   fully briefed by the end of the year. (Ex. F .) This is precisely the type of efﬁciency the
          21     federal MDL process was designed to promote, and that would be disrupted                  if parallel proceedings
          22     were allowed to go forward in this Court. (See 28 U.S.C.              §   1407(a) [transfer   of cases to MDL
          23     intended to “promote the just and efﬁcient conduct             of such actions”].)
           24                Plaintiffs deride concerns for economy       as   “[d]elay for the sake of delay” (Opp. at p. 13), but

           25    offer no support for this view. Indeed, Plaintiffs misrepresent language from concurrences and

           26    dissents as holdings from the           US. Supreme Court. They quote from Justice White’s concurrence in
           27    United States         v.   Stauffer Chemical Co. (1984) 464 US. 165, 178, but ignore the rationale of the

           28    opinion for the Court, which expressly cited policies promoting judicial economy. (Id. at 172-73

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               1    [policy of “protecting litigants from burdensome relitigation and of promoting judicial

               2    economy”]). And the passage from Perry           v.   MSPB (2017) 137 S.Ct. 1975, 1991, appears in Justice

               3    Gorsuch’s dissent. None        of these inapposite, non-authoritative   snippets can undermine the fact that

               4    efficiency is   a   critical factor supporting a stay of an action in this Court in deference to   a pending

               5    MDL action in a California federal court.        (See Berg, supra, 61 Cal.App.4th at 363.)

               6                                                     CONCLUSION

               7             For the foregoing reasons and those in Facebook’s moving papers, the Court should stay this

               8    action pending resolution       of the 1VIDL proceedings.6


           10       Dated: September 4, 2018                              GIBSON, DUNN & CRUTCHER LLP

           1 1



           12                                                             By:        /s/ Joshua Lipshutz
                                                                                              Joshua Lipshutz
           13
                                                                          Attorney for Defendant Facebook, Inc.
           14

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                         Contrary to Plaintiffs’ suggestion (Opp. at p. 12), Facebook has dealt in good faith with Plaintiffs’
                         counsel throughout this litigation. On July 24, 2018, Facebook inquired whether Plaintiffs would
          23             consent to a stay. (Ex. D at 3—4.) Plaintiffs indicated telephonically the following day that they
                         would not, but asked whether Facebook would consider a step short of a stay. Facebook advised
          24             Plaintiffs that it planned to seek a stay and asked whether Plaintiffs would stipulate to extend the
                         deadline for Facebook to file its responsive pleading (at that time due on August 13, 2018) until
          25             30 days after the Court rules on the motion to stay. (Ex. D at 2—3.) When Plaintiffs did not
                         respond within 48 hours, Facebook filed its motion to stay on July 27, 2018. (Ex. D at 1-2.) That
          26             same day, Facebook asked Plaintiffs again whether they would stipulate to extend the deadline for
                         Facebook to file its responsive pleading until 30 days after the Court rules on the motion to stay.
           27            (Ibid) On July 30, 2018, when Plaintiffs again had not responded, Facebook advised them,
                         pursuant to CRC 3.1204, that it would file an ex parte request for an extension of time for its
           23            response to the complaint. (Ex. D at 1.) Only after this communication did the parties ultimately
                         agree to extend Facebook’s response deadline without other conditions attached.
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